  Case 16-13412-mdc        Doc 56    Filed 04/01/19 Entered 04/01/19 10:20:51             Desc Main
                                     Document     Page 1 of 1



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: JOYCE GERBER,                                 :      No.: 16-13412-REF
                                                     :
                       Debtor.                       :       Chapter 13


      NOTICE OF CONVERSION FROM CHAPTER 13 TO CASE UNDER CHAPTER 7

Pursuant to 11 U.S.C. §1307(a), the above captioned Debtor requests this Honorable Court to convert

this case under Chapter 13 to a case under Chapter 7, and as grounds states as follows:

   1. The instant case was filed under Chapter 13 of the Bankruptcy Code on May 12, 2016.

   2. A 341 Meeting of Creditors was held on August 30, 2016 and a Chapter 13 Plan was confirmed

       on July 27, 2017.

   3. Since the filing of the Petition, Debtor’s financial circumstances have changed substantially

       and the Chapter 13 Plan is no longer affordable. Namely, Debtor has lost her job and is only

       receiving Social Security.

   4. The undue financial burden would not enable the Debtors to achieve a “fresh start” in

       accordance with the intentions of the Bankruptcy Code.

   5. This matter has not been previously converted to a case under any other Chapter of the

       Bankruptcy Code.

   6. Debtor is eligible to become a Debtor under Chapter 7 of the Bankruptcy Code and desires to

       convert this case to a case under that Chapter.

       WHEREFORE, the Debtors pray for this Honorable Court to convert this case under Chapter

13 to a case under Chapter 7 of the Bankruptcy Code.

Date: April 1, 2019                                  /s/ Patrick J. Best
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